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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION



UNITED STATES OF AMERICA,

       Plaintiff/Respondent,
vs.
                                                             Crim. Case No. 92-CR-81127
GREGORY BROWN,
                                                                     HON. AVERN COHN
     Defendant/Petitioner.
_______________________________/


              ORDER DENYING A CERTIFICATE OF APPEALABILITY
                   FROM THE COURT’S May 4, 2016 ORDER

                                             I.

       This is a criminal case that has long since closed. It has been made complicated

by defendant/petitioner Gregory Brown’s (Brown) multiple filings and subsequent

appeals which will not be repeated here. On May 4, 2015, the Court denied Brown’s

motion to reopen (Doc. 2217), in which he again asked the Court to consider the merits

of his claim that his trial counsel was ineffective. (Doc. 2218). The Court said in part:

“[c]onstruing it as a motion for reconsideration of the Court’s order denying him Rule

60(b) relief, nothing in Brown’s filing shows that the Court erred in its decision. See

E.D. Mich. LR 7.1(h)(3).”

       Brown has appealed the Court’s decision. See Doc. 2222. The Court of Appeals

has asked for a determination of whether Brown is entitled to a certificate of

appealability (COA) with respect to the Court’s May 4, 2015 order. See Doc. 2205. In

order to obtain a COA, Brown must make a “substantial showing of the denial of a
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constitutional right.” 28 U.S.C. § 2253(c)(2). Reasonable jurists would not debate the

Court’s conclusion that Brown is not entitled to relief under Rule 60(b) or that his motion

to reopen, construed as a motion for reconsideration, deserves to proceed further.

Accordingly, a COA is DENIED.

       SO ORDERED.




                                                 S/AVERN COHN
                                                 UNITED STATES DISTRICT JUDGE

Dated: November 6, 2015
      Detroit, Michigan




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